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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

In re:                                                                     Case No.: 0:22-19451-PDR

FEDNAT HOLDING COMPANY, et al1.                                            Chapter 11
                                                                           (Jointly Administered)
         Debtors.
                                                        /

                    OBJECTION BY PRESENT AND FORMER
          DIRECTORS AND OFFICERS OF DEBTORS TO FIRST AMENDED
         COMBINED DISCLOSURE STATEMENT AND CHAPTER 11 PLAN OF
    LIQUIDATION OF FEDNAT HOLDING COMPANY AND ITS DEBTOR AFFILIATES

         David K. Patterson, Bruce F. Simberg, Jenifer G. Kimbrough, Thomas A. Rogers, David

W. Michelson, Roberta N. Young, James Gordon Jennings, Brian Gardner, and Erick A.

Fernandez (the “Movants”), by their counsel, as present and former directors and/or officers of

(a) Debtor FedNat Holding Company (“FNHC”) and certain of its subsidiaries, FedNat

Underwriters, Inc.(“FNU”); ClaimCor, LLC (“ClaimCor”); Century Risk Insurance Services,

Inc. (“CRIS”); and Insure-Link, Inc. (“Insure-Link,” together with FNU, ClaimCor, and CRIS,

the “FNHC Subsidiaries,” who are the Chapter 11 debtors-in-possession in these jointly

administered bankruptcy cases and collectively referred to as the “FNHC Debtors”), and (b)

FedNat Insurance Company (“FNIC”), a non-debtor subsidiary of FNHC, file this objection to

the First Amended Combined Disclosure Statement and Chapter 11 Plan of Liquidation of

FedNat Holding Company and Its Debtor Affiliates (the “Plan”) [ECF 567, 567-1–567-8, 661]



1
 The Debtors in these Chapter 11 Cases, along with the last four digits of each of the Debtors’ federal tax identification
numbers are: FedNat Holding Company (Case No. 22-19451) (8866); FedNat Underwriters, Inc. (Case No. 22-19452)
(8533); ClaimCor, LLC (Case No. 22-19453) (7581); Century Risk Insurance Services, Inc. (Case No. 22-19454)
(1854); and Insure-Link, Inc. (Case No. 22-19455) (6769). The Debtors’ headquarters are located at 1 East Broward,
Suite 700, Ft. Lauderdale, Florida 33301


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submitted by the FNHC Debtors and the Official Committee of Unsecured Creditors (the

“Committee” and, together with the FNHC Debtors, the “Plan Proponents”).

                                SUMMARY OF OBJECTION

         Movants are current and former directors and officers of the FNHC Debtors. The FNHC

Debtors are obligated to indemnify Movants for defense and settlement costs for claims arising

out of Movants’ acts or omissions while acting as an officer or director by virtue of the FNHC

Debtors’ (a) statutory obligation to indemnify their directors and officers, (b) governing

documents requiring the company to advance expenses to current and former directors and

officers to the fullest extent permitted by law, and (c) employment and other specific agreements

with directors and officers containing indemnification provisions (collectively, the

“Indemnification Obligations”). To fulfill the Indemnification Obligations, the FNHC Debtors

obtained insurance to protect their officers and directors (“D&Os”) for defense and settlement

costs.

         Movants have received demands for alleged damages from acts and omissions while

Movants acted as officers and directors. While Movants vigorously deny the merits of the

demands, Movants have various defenses and potential counter-, cross-, and third-party claims in

response to the demands and any eventual civil litigation, and the right to seek indemnification

from the FNHC Debtors. However, the Plan’s release and injunction provisions seriously impair

or even extinguish Movants’ ability to defend themselves, bring appropriate claims, or seek

indemnification. In exchange, Movants receive nothing, as they have been specifically excluded

from the status of released parties, while the very claims for which the FedNat Debtors are

obligated to protect them against have been explicitly preserved. Additionally, the release and


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injunction provisions of the Plan could impair the director and officer insurance coverage, all of

which necessitates this objection to confirmation of the Plan.

       Therefore, because the release and injunction provisions of the Plan are not fair and

equitable to the Movants who are being adversely impacted, the Plan cannot be confirmed without

affording the same protections of the release and injunction provisions to Movants, to the extent

claims are made that exceed the limits of liability under the insurance that was provided by the

FNHC Debtors to cover the Indemnification Obligations.

                             BACKGROUND OF OBJECTION

A.     Insurance for Indemnification Obligations.

       1.      Prior to the Petition Date, the FNHC Debtors, including FNIC, purchased a

primary D&O policy (the “Primary Policy”) to protect the Insured Persons. The Insured Persons

are defined in relevant part in the Primary Policy as “any natural person who was, now is or shall

become (a) a duly elected or appointed director (including a de facto director), officer, Manager,

trustee, regent, governor, risk manager, comptroller or in-house general counsel of any Company

organized in the United States of America, or in a functionally equivalent or comparable role to

any of the foregoing.” Company is defined as the “Parent Company and any Subsidiary, any

foundation, political action committee or charitable trust controlled or sponsored by the Parent

Company or any Subsidiary, and the Parent Company or any Subsidiary in its capacity as a debtor

in possession under United States bankruptcy law.” FNHC is named as the Parent Company in

the Primary Policy, and FNIC, as a wholly owned subsidiary of FNHC, is a Subsidiary.




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        2.         The Primary Policy provides claims made coverage, which applies only to claims

first made against Insured Persons during the Policy Period.2 The Primary Policy has a limit of

liability of $2.5 million in the aggregate.

        3.         Contemporaneously with its purchase of the Primary Policy, the FNHC Debtors

purchased from several different insurance companies claims-made coverage generally limited to

liability for claims first made against Insured Persons during the Policy Period. Specifically, the

FNHC Debtors purchased nine (9) separate excess director and officer liability insurance policies

each providing excess coverage of an aggregate of $2,500,000 with respect to claims exceeding

the coverage provided by underlying policies (each an “Excess Policy,” and together with the

Primary Policy, the “D&O Policies”).3 The issuers of the Primary Policy and the Excess Policies

are referred to as the “Insurers”.

        4.         Subject to the specific applicable policy language, the Excess Policies generally

follow the Primary Policy and/or applicable underlying Excess Policies, except as otherwise

provided. As such, the limit of liability available under the Excess Policies to pay judgments or

settlements shall be reduced by the payment of defense costs.

        5.         Subject to their terms, conditions and exclusions, the D&O Policies provide up to

$25 million of liability insurance for claims.

B.       Demands and Claims Made Against Insured Persons.

         6.       On November 1, 2022, FNHC and each of the FNHC Subsidiaries (collectively

referring to themselves as the “Company”) gave written Notice of Circumstances/Notice of




2
  The provisions of the Primary Policy are laid out in full in Movants’ filing at ECF 387. Counsel for Movants will
provide copies of the D&O Policies to the Court and to other parties upon request.
3
  Movants dispute that the proceeds of the D&O Policies are property of the bankruptcy estates that would be available
for distribution, and thus dispute the Plan Proponents’ listing “D&O Coverage” in their Liquidation Analysis, Exhibit
C to the Plan.

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Potential Real Claims and/or Wrongful Acts (the “Primary Policy Notice”) to the issuer of the

Primary Policy. On November 3, 2022, the Company gave written Notice of Circumstances/Notice

of Potential Real Claims and/or Wrongful Acts (the “Excess Polices Notice,” and collectively with

the Primary Policy Notice, the “Notices”) to the issuers of the Excess Policies. The Notices brought

to the attention of the Insurers the background and circumstances which could give rise to a claim

against the persons who served as a director, officer, Manager, trustee, regent, governor,

comptroller, in-house general counsel or functionally equivalent (or comparable role to any of the

foregoing) of the Company for which the policy issued by the respective Insurer provided

coverage.

       7.      On December 1, 2022, the Florida Department of Financial Services (the

“Receiver”), Receiver of FNIC in the receivership of FNIC pending in the Circuit Court of the

Second Judicial Circuit, in and for Leon County, Florida, Case No. 2022-CA-001688 (the

“Receivership”) sent a Notice of Claim, Demand for Tender of Insurance Policy Limits and

Assertion of Claims Under Policies (the “Receiver’s Demand”) to the D&Os and to all insurance

carriers which provide or may provide coverage to the D&Os.

       8.      In the Receiver’s Demand, the Receiver asserts that the current and former

directors and officers of FNHC and FNIC, including the Movants, breached duties in their capacity

as the directors or officers of FNHC, FNIC or both.

       9.      In addition to sending the Receiver’s Demand to the D&Os, the Receiver also

provided copies to the Insurers.

       10.     Movants have sought information to evaluate the assertions in the Receiver’s

Demand.




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       11.      On January 11, 2023, the Movants, as the Insured Persons, made a request for

indemnification to the FNHC Debtors and requested documents from the necessary parties and

non-parties to evaluate the Receiver’s Demand and possible third-party claims (the

“Indemnification Request”).

       12.      On May 5, 2023, the Committee, pursuant to Federal Bankruptcy Rule of

Bankruptcy Procedure 2004 and Local Rule 2004-1, noticed the Rule 2004 examination of each of

the Movants and demanded production of all documents and media as listed on a Schedule attached

to a subpoena served on each Movant [ECF. Nos. 332–337] (collectively, the “Examinations”).

       13.      On May 22, 2023, the Receiver contacted counsel for the Movants regarding

scheduling certain discovery in the Receivership from certain of the Movants under an

Investigative Subpoena pursuant to Sections 631.156, Florida Statutes (the “Receivership

Discovery”).

       14.      On June 1, 2023, the FNHC Debtors provided a Further Notice of Circumstances

/ Further Notice of Potential Real Claims / Further Notice of Potential Wrongful Acts (the

“Further Notice”) to the Insurers. The Further Notice was given on behalf of the Company (FNHC

and each of the FNIC Subsidiaries), and referenced the Notices, the Chapter 11 filings by the

FNHC Debtors, the Receiver’s Demand, the Tax-Sharing Agreement, and further potential

“wrongful acts” by FNHC’s Officers and Directors and by the FNHC Subsidiaries’ Officers and

Directors related to the Monarch Transactions, and specifically the allegations of FNIC, ClaimCor

and FNU against Monarch National Insurance Company (“Monarch”) and HP Managing Agency,

LLC (“HPMA”) in Adversary Proceeding No. 23-01053-PDR, laying out in detail acts of bad faith

and breaches of fiduciary duty by Monarch, by HPMA, by Steven A. Hale II (“Hale”), and by




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other entities owned or controlled by Hale (collectively, the “Hale Related Parties”), causing

damage to FNHC and the FNHC Subsidiaries.4

        15.       On June 2, 2023, the FNHC Debtors provided a Notice Of Claims And Demand

For Damages At Or Exceeding Policy Limits And For A Tolling Agreement (the “FNHC Debtors’

Demand”) to Movants David K. Patterson, Bruce F. Simberg, Jenifer G. Kimbrough, Thomas A.

Rogers, David W. Michelson, and Roberta N. Young (collectively, the “Petition Date Directors”)

and the Insurers referencing certain prior notices allegedly setting forth the facts and circumstances

underlying alleged wrongful acts and demanding damages equal to or exceeding policy limits of

the D&O Policies and demanding that each of the Petition Date Directors enter into an agreement

tolling or waiving any applicable statute of limitations or repose.

        16.       The Movants deny any allegations or suggestions of wrongdoing asserted by the

FNHC Debtors or the Receiver in the Notices, the Receiver’s Demand, the Further Notice, and the

FNHC Debtors’ Demand (collectively, the “Demands”), believe that any claims by the FNHC

Debtors or the Receiver are without merit, and intend to vigorously defend any claim pursued.

C.      Movants’ Proofs of Claim.

        17.      Movants asserted claims against the FNHC Debtors by virtue of each such

Movants’ status as a current or former director, or a former officer, of one or more of the FNHC

Debtors and the FNHC Debtors’ Indemnification Obligations.

        18.      Specifically, on or about February 21, 2023, the Petition Date Directors, each

individually, timely filed a Proof of Claim in each of the FNHC Debtors’ cases. (“Petition Date



4
 In brief, Mr. Hale, together with the Hale Related Parties, allegedly “abused his position of power and capitalized
upon his insider status, using his knowledge of [FNHC] and its subsidiaries’ operations and access to their employees
and customers to enrich himself and his companies… without regard to any damage it was causing to [FNHC] and its
subsidiaries…. [thereby breaching] his fiduciary duties to [FNHC] and its subsidiaries resulting in untold amounts of
damage to the Debtors’ businesses.” (See Monarch National Ins. Co. et al v. FedNat Holding Co. et al, No. 0:23-
01053-PDR (Bankr. S.D.Fla.), Doc. 19 at 27 (Third-Party Complaint, ¶¶18-19).)

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Directors’ Claims”). See Claim Nos. 187-194; 196; 198-204; 206; 220-221; 223-228; 230-235

[ECF 600-1, 600-2].

       19.     On September 12, 2023, the Plan Proponents filed their Notice of Filing of Plan

Supplement for the First Amended Combined Disclosure Statement and Chapter 11 Plan of

Liquidation of FedNat Holding Company and Its Debtor Subsidiaries (the “Plan Supplement”)

[ECF 661].

       20.     Although the Plan Proponents included the D&O Policies in their Schedule of

Executory Contracts and Unexpired Leases to be Assumed attached to the Plan Supplement, the

Plan Proponents propose to reject the Indemnification Obligations because they are not listed in

the Plan Supplement as being assumed. Plan art. X; Plan Supplement [ECF 661].

       21.     In Exhibit B of their Plan Supplement containing a Schedule of Retained Causes

of Action, the Plan Proponents purport to preserve, for pursuit by the Plan Administrator, all

retained causes of action not expressly settled or released. Further, (a) in Annex (ii) they

expressly reserve causes of action related to director and officer liability, (b) in Annex (iv) they

expressly reserve all causes of action related to the D&O Policies, and (c) in Annex (ix) they

expressly reserve all causes of action against directors and officers of the FNHC Debtors, and

name as potential defendants each of the Movants, and also name Michael H. Braun and Douglas

Raucy, other current or former directors or officers of FNHC and its subsidiaries, represented by

separate counsel.

       22.     Movants James Gordon Jennings, Brian Gardner, and Erick A. Fernandez

(collectively, the “Additional D&Os”) asserted claims against the FNHC Debtors on September

20, 2023, by virtue of each such Movants’ status as a current or former director and/or a former

officer of one or more of the FNHC Debtors and the FNHC Debtors’ proposed rejection of their



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Indemnification Obligations pursuant to the Plan. See, Claim Nos. 276–2915 (“Additional D&O

Rejection Claims,” and together with the Petition Date Directors’ Claims, the “Movants’

Claims”).6

           23.      If necessary, Movants will take additional steps to preserve their rights to assert

additional claims for rejection damages, as contemplated by article X of the Plan.

           24.      The Petition Date Directors’ Claims asserted contingent and unliquidated claims

in unknown amounts against the FNHC Debtors based on the Indemnification Obligations and

the possibility that the FNHC Debtors would fail to honor and fulfill their Indemnification

Obligations.

           25.      The D&O Rejection Claims asserted contingent and unliquidated claims in

unknown amounts against the FNHC Debtors based on the FNHC Debtors’ proposed rejection

of their Indemnification Obligations and the failure of the FNHC Debtors to honor and fulfill

their Indemnification Obligations.

           26.      Further, to the extent the FNHC Debtors assert claims against the Movants of any

kind, the Movants reserved the right to assert that such claims are subject to rights of setoff or

recoupment, which rights may be treated as secured claims under the Bankruptcy Code. To the

extent that the FNHC Debtors or any other party asserts claims against the Movants that would

give rise to any counterclaim, crossclaim, or other claim against the FNHC Debtors, the Movants

reserved all rights to assert such claims.

           27.      The Movants’ Claims will remain contingent and unliquidated as of the Voting

Deadline. Accordingly, on September 5, 2023, the Petition Date Directors filed a Motion of

Present and former Directors and Officers of Debtors Pursuant to Federal Rule of Bankruptcy


5
    Claim 289 is an inadvertent duplicate claim filed by Mr. Fernandez as to ClaimCor.
6
    Braun and Raucy have filed proofs of claim numbers 292–296 and 308–310.

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Procedure 3018(a) to Allow Claims for Plan Voting Purposes (the “Rule 3018(a) Motion”)

seeking to have the Petition Date Directors’ Claims temporarily allowed, as applicable, as (a)

Class 4 FNHC General Unsecured Claims; (b) Class 3 FNU General Unsecured Claims; (c) Class

3 ClaimCor General Unsecured Claims; (d) Class 3 CRIS General Unsecured Claims; and (e)

Class 3 Insure-Link General Unsecured Claims (collectively, referred to as “Petition Date

Director General Unsecured Claims”), for purposes of voting on the Plan. [ECF 600].

       28.    On September 20, 2023, the Additional D&Os filed a joinder in the Rule 3018(a)

Motion seeking to have the Movants’ Rejection Claims temporarily allowed, as applicable, as (a)

Class 4 FNHC General Unsecured Claims; (b) Class 3 FNU General Unsecured Claims; (c) Class

3 ClaimCor General Unsecured Claims; (d) Class 3 CRIS General Unsecured Claims; and (e)

Class 3 Insure-Link General Unsecured Claims (collectively, referred to as “D&O Rejection

Claims,” and collectively with the Petition Date General Unsecured Claims, the “D&O General

Unsecured Claims”), for purposes of voting on the Plan. [ECF 683]. Further, Raucy [ECF 705]

and Braun [forthcoming] have joined in the Rule 3018(a) Motion.

   D. FNHC Debtors’ Objections to Petition Date Directors’ Claims Against FNHC
      Subsidiaries.

       29.    Contemporaneously with the filing of their Plan Supplement on September 12,

2023, the FNHC Debtors filed separate Objections to the Petition Date Directors’ Claims against

the FNHC Subsidiaries (collectively, the “D&O Claim Objections”). See Debtors’ Forty-First

(Substantive) Omnibus Objection to Certain Claims of Jenifer Kimbrough – No Liability [ECF

655]; Debtors’ Forty-Second (Substantive) Omnibus Objection to Certain Claims of David

Michelson – No Liability [ECF 656]; Debtors’ Forty-Third (Substantive) Omnibus Objection to

Certain Claims of David Patterson – No Liability [ECF 657]: Debtors’ Forty-Fourth

(Substantive) Omnibus Objection to Certain Claims of Thomas Rogers – No Liability [ECF 658];


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Debtors’ Forty-Fifth (Substantive) Omnibus Objection to Certain Claims of Bruce Simberg – No

Liability [ECF 659]; and Debtors’ Forty-Sixth (Substantive) Omnibus Objection to Certain

Claims of Roberta Young – No Liability [ECF 660].

       30.     The D&O Claim Objections do not challenge the proofs of claim filed by the

Petition Date Directors against FNHC Debtor. See, Claim 189, 194, 201, 221, 227, and 233.

       31.     Instead, the D&O Claim Objections assert that the applicable claimant was not an

officer or director of the applicable FNHC Subsidiary and, therefore, the FNHC Subsidiaries have

no indemnification obligations to the claimant. The FNHC Debtors selectively reference the

Indemnification Request, which was based on the Receiver’s Demand, and the Receiver’s

Demand, as support for the argument that only claims by FNHC or FNIC trigger an

Indemnification Obligation. As will be more fully detailed in the responses in opposition to the

D&O Objections, the Demands against the Petition Date Directors were made by all the FHNC

Debtors. Moreover, the status of a de facto director or functionally equivalent or comparable role

is more than sufficient to trigger the Indemnification Obligations, especially if the party asserting

the claim is the Plan Administrator acting on behalf of all the FNHC Debtors and their estates.

   E. The Plan’s Release, Injunction, and Exculpation Provisions.

       32.     The Plan provides releases to a broad swath of non-debtors, but explicitly removes

the D&Os from the parties being released:

       “Released Party” means, collectively, and in each case in its capacity as such, (a)
       the Debtors, (b) the Senior Notes Indenture Trustees, (c) the Committee, (d) the
       Hale Related Parties; and (e) with respect to each of the foregoing Entities in
       clauses (a) through (d), such Entity’s managers, managing members, principals,
       partners, members, employees, agents, financial and other advisors, attorneys,
       accountants, investment bankers, consultants, representatives and other
       Representatives. For the avoidance of doubt, “Released Party” shall not




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        include (i) any D&O[7]; (ii) any person or Entity[8] that is subject to, party to,
        or related to any Insurance Cause of Action[9]; or (iii) any person or Entity that
        is subject to the Tax Refund Dispute in each case regardless of whether any person
        or Entity subject to clauses (i) through (iii) would otherwise fall within the
        definition of “Released Party; provided for the avoidance of doubt, none of the Hale
        Related Parties nor their Representatives are included within or subject to any of (i)
        – (iii) above.

Plan art. I (123) (emphasis added).

        33.      Those Released Parties enjoy releases from any conceivable claim for pre- or post-

petition actions:

        . . . the Released Parties shall be deemed to have conclusively, absolutely,
        unconditionally, irrevocably, and forever been released and discharged by the
        Debtors and the Estates from any and all past or present Claims, Interests,
        indebtedness and obligations, rights, suits, losses, damages, injuries, costs,
        expenses, Causes of Action, remedies, and liabilities whatsoever, including any
        derivative Claims, asserted on behalf of the Debtors unsuspected, accrued or
        unaccrued, fixed, contingent, pending or threatened, existing or hereinafter arising,
        in law, equity, or otherwise, whether for tort, fraud, contract violations of federal
        or state laws or otherwise, those Causes of Action based on veil piercing or alterego
        theories of liability, contribution, indemnification, joint liability or otherwise that
        the Debtors, the Estates, or their Affiliates would have been legally entitled to assert
        in their own right (whether individually or collectively) or on behalf of the Holder
        of any Claim or Interest or other Entity, based on or relating to any act, omission,
        transaction, event, or other occurrence taking place on or prior to the Effective Date
        (collectively, “Debtor Released Claims”) based on or relating to, or in any manner
        arising from, in whole or in part, the Debtors, the Debtors’ restructuring efforts, the
        Chapter 11 Cases, the subject matter of, or the transactions or events giving rise to,
        any Claim or Interest that is treated in the First Amended Combined Disclosure
        Statement and Plan, the business or contractual arrangements between any Debtor
        and any Released Party, the restructuring of Claims and Interests prior to or during
        the Chapter 11 Cases, the negotiation, formulation, or preparation of the First
        Amended Combined Disclosure Statement and Plan, the Plan Supplement, the Plan
        Administrator Agreement or any related agreements, instruments, or other
        documents, the pursuit of Confirmation, any action or actions taken in furtherance
        of or consistent with the administration or implementation of the First Amended

7
  Under the Plan, “‘D&O’ means any current or former officer, director, member or manager of any of the Debtors,
solely in his or her capacity as such.”
8
  Under the Plan, “‘Entity’ means an ‘entity’ as that term is defined in section 101(15) of the Bankruptcy Code.”
“Entity” under the Bankruptcy includes “persons,” and the definition of “person”, in turn, includes individuals. 11
U.S.C. § 101(15), (41).
9
  “‘Insurance Causes of Action’ means, collectively, any Cause of Action which may be asserted against any D&O or
against any D&O Insurance Carriers, including without limitation, all Causes of Action which are or may be covered
by any D&O Liability Insurance Policies.”

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       Combined Disclosure Statement and Plan or the Distributions and related
       documents or other property under the First Amended Combined Disclosure
       Statement and Plan, upon any other act or omission, transaction, agreement, event,
       or other occurrence taking place on or before the Effective Date arising from or
       relating to any of the foregoing.

Plan art. XII(B).

       34.     The release provision explicitly excludes any release of the D&Os or related to

the D&Os, and preserves all claims against them:

       For the avoidance of doubt, nothing in the foregoing “Debtor Releases” or the First
       Amended Combined Disclosure Statement and Plan shall operate to waive or
       release . . . (iii) any Causes of Action against any insurer arising out of or relating
       to matters for which the Debtors would otherwise be liable or suffer an insurable
       loss, including without limitation, any Causes of Action against any D&O
       Insurance Carrier; or (iv) any claims of the Debtors, FNIC or the DFS Receiver
       against any D&O; (v) any Insurance Causes of Action; . . . or (vii) any Retained
       Causes of Action and any claims, rights, suits, damages, Causes of Action or
       remedies with respect to the Retained Causes of Action.

Plan art. XII(B).

       35.     This preservation of claims is set forth in more detail in the Plan Supplement:

       Unless expressly released by the Combined Disclosure Statement and Plan or order
       of the Bankruptcy Court (including in connection with the disposition of any
       assets), the Debtors, Liquidating FedNat, and the Plan Administrator expressly
       reserve any and all direct or derivative claims or Causes of Action against any and
       all current and former officers, directors, shareholders, members, managers,
       employees, affiliates or insiders of the Debtors, including but not limited to for
       breach of fiduciary duty, including the duties of care, loyalty, good faith, disclosure,
       candor, and oversight, or aiding and abetting breach of fiduciary duty, or under and
       pursuant to any of the D&O Liability Insurance Policies (including for bad faith).

                                                ***

       Unless expressly released by the Combined Disclosure Statement and Plan or order
       of the Bankruptcy Court (including in connection with the disposition of any
       assets), the Debtors, Liquidating FedNat, and the Plan Administrator expressly
       reserve all Causes of Action related to each of the D&O Liability Insurance Policies
       set forth on Exhibit C to the Plan Supplement, and the following Errors and
       Omissions Insurance Policy issued by Endurance American Specialty Insurance
       Company to FedNat Underwriters, Inc., Policy Number APL10006074907, and any
       other insurance policies and occurrence contracts to which the Debtors are a party
       or pursuant to which the Debtors have any rights whatsoever, including but not

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         limited to, liability for professional service, employment practices and
         management, crises event management, property damage, and time element losses,.
         The Causes of Action reserved include Causes of Action against insurance carriers,
         reinsurance carriers, insurance brokers, underwriters, occurrence carriers, or surety
         bond issuers relating to coverage, indemnity, contribution, reimbursement or any
         other matters.

         ***

         Unless expressly released by the Combined Disclosure Statement and Plan or order
         of the Bankruptcy Court (including in connection with the disposition of any
         assets), the Debtors, Liquidating FedNat, and the Plan Administrator expressly
         reserve all Causes of Action against or related to all Entities that are party to or that
         may in the future become party to litigation, arbitration, or any other type of
         adversarial proceeding or dispute resolution proceeding, whether formal or
         informal or judicial or non-judicial, regardless of whether such Entity is specifically
         identified in the Combined Disclosure Statement and Plan, this Plan Supplement,
         or any amendments thereto. Without limiting the generality of the foregoing, the
         Debtors, Liquidating FedNat, and the Plan Administrator expressly reserve all
         Causes of Action against the Entities identified below in this Annex (ix).

[ECF 661, Annex (ii), (iv), (ix)].

         36.      Each of the Movants are listed as potential defendants in the preserved actions

against D&Os: “Potential Defendants: David K. Patterson, Bruce F. Simberg, Jenifer G.

Kimbrough, Thomas A. Rogers, David W. Michelson, Roberta N. Young, Ronald A. Jordan,

James Gordon Jennings, III, Brian Gardner, Eric A. Fernandez, III, Michael H. Braun, and

Douglas Raucy.” [ECF 661].

         37.      The “Exculpated Parties” include “the Debtors, the Chief Restructuring Officer,

the Chief Financial Officer, GGG, the Committee and the individual members thereof, the Senior

Notes Indenture Trustees, and the Professionals10 (each of the foregoing in its individual capacity

as such).” Plan art. I (61).




10
  “Professional” means any person or Entity employed in the Chapter 11 Cases pursuant to a Final Order in accordance
with sections 327, 328 or 1103 of the Bankruptcy Code, and to be compensated for services rendered prior to and
including the Effective Date pursuant to sections 327, 328, 329, 330 or 331 of the Bankruptcy Code. Plan art. I (118).

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       38.     The D&Os are then explicitly excluded from the exculpation provision, while all

others who had a role in the decision to file these bankruptcy cases are protected:

                  . . . an Exculpated Party, and any property of an Exculpated Party, shall not
       have or incur any liability to any Entity for (a) any prepetition act taken or omitted
       to be taken in connection with, related to or arising from the Debtors’ out-of-court
       restructuring efforts, including authorizing, preparing for or filing the Chapter 11
       Cases and the Sale, or (b) any post-petition act arising prior to or on the Effective
       Date taken or omitted to be taken in connection with, related to or arising from the
       formulation, negotiation, preparation, dissemination, implementation, or
       administration of this First Amended Combined Disclosure Statement and Plan, the
       Plan Supplement, or any contract, instrument, or other agreement or document
       created or entered into in connection with this First Amended Combined Disclosure
       Statement and Plan or the Chapter 11 Cases, or any other post-petition act taken or
       omitted to be taken in connection with or in contemplation of the restructuring of
       the Debtors, the Chapter 11 Cases, or the confirmation or consummation of this
       Plan, including but not limited to (i) the Sales; (ii) formulating, preparing,
       disseminating, implementing, confirming, consummating or administrating this
       First Amended Combined Disclosure Statement and Plan (including soliciting
       acceptances or rejections thereof if necessary), or any contract, instrument, release
       or other agreement or document entered into or any action taken or not taken in
       connection with this First Amended Combined Disclosure Statement and Plan; or
       (iii) any Distribution made pursuant to this First Amended Combined Disclosure
       Statement and Plan, except for acts determined by a Final Order to constitute willful
       misconduct or gross negligence, and in all respects such parties shall be entitled to
       rely upon the advice of counsel with respect to their duties and responsibilities
       under this First Amended Combined Disclosure Statement and Plan.
       Notwithstanding the foregoing, or anything contrary in this First Amended
       Combined Disclosure Statement and Plan, and for the avoidance of doubt, this
       section of the First Amended Combined Disclosure Statement and Plan shall not .
       . . (iii) exculpate or release any Exculpated Party, person, or Entity from any claims
       or Causes of Action against any D&O; (iv) exculpate or release any Exculpated
       Party, Person, or Entity from any Insurance Causes of Action; . . . (vi) exculpate or
       release any Exculpated Party from any Retained Causes of Action and any claims,
       rights, damages, or remedies with respect to any such Retained Causes of Action .
       ...

Plan art. XII(D).

       39.     Despite receiving none of the protections of the release and exculpation

provisions, Movants will be bound by the broad injunction provision of the Plan, which states as

follows:



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         . . . all Entities who hold or may hold Claims or Interests and all Entities acting on
         behalf of such Holders and the Releasing Parties are permanently enjoined from
         taking any of the following actions against the Debtors, Liquidating FedNat, the
         Released Parties, and Plan Administrator: (1) commencing or continuing in any
         manner any action or other proceeding of any kind on account of or in connection
         with or with respect to any Claims or Interests; (2) enforcing, attaching, collecting,
         or recovering by any manner or means any judgment, award, decree, or order
         against such Entities on account of or in connection with or with respect to any
         Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any
         kind against such Entities or the property or Estates of such Entities on account of
         or in connection with or with respect to any Claims or Interests; (4) asserting any
         right of setoff, subrogation, or recoupment of any kind against any obligation due
         from such Entities or against the property or Estates of such Entities on account of
         or in connection with or with respect to any Claims or Interests unless such Holder
         has Filed a motion requesting the right to perform such setoff on or before the
         Confirmation Date; (5) commencing or continuing in any manner any action or
         other proceeding of any kind on account of or in connection with or with respect to
         any Claims, Interests and Causes of Action[11] released, exculpated, waived, settled
         or barred pursuant to this First Amended Combined Disclosure Statement and Plan,
         which for the avoidance of doubt include the Third Party Releases, Debtor Releases
         and Exculpated Claims set forth herein, (6) commencing or continuing in any
         manner any action or other proceeding of any kind against any Released Party on
         account of or in connection with or with respect to any Insurance Cause of Action
         (the injunction set forth in this clause (6), the “Insurance Injunction”).

Plan art. XII(E).

         40.      The injunction provision is also explicit to preserve all claims against the D&Os:

         Nothing in the First Amended Combined Disclosure Statement and Plan or the
         Confirmation Order shall: . . . (B) enjoin, preclude, or otherwise restrict (ii) any
         Insurance Causes of Action; (iii) any Retained Causes of Action; or (iv) any claims
         or Causes of Action against or in any way involving any D&O.

Plan art. XII(E).




11
   “‘Causes of Action’ means all claims, actions, causes of action, choses in action, suits, debts, dues, sums of money,
accounts, reckonings, bonds, bills, specialties, covenants, contracts, controversies, agreements, promises, variances,
trespasses, damages, judgments, remedies, rights of set off, third-party claims, subrogation claims, contribution
claims, reimbursement claims, indemnity claims, counterclaims and crossclaims (including, without limitation, all
claims and any avoidance, recovery, subordination or other actions against insiders and/or any other Entities under
the Bankruptcy Code, including Avoidance Actions) of any kind or character whatsoever, whether known or unknown
and whether arising before, on, or after the Petition Date.” Plan art. I (23).

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                                                    OBJECTION12

         A.       The Plan’s release and injunction provisions are not essential to
                  reorganization because it is a liquidating Plan, and they are unfair and
                  inequitable to the D&Os.

         41.       During the time the Plan Proponents were proposing an amendment to the original

plan [ECF 422], the Movants proposed revisions to provide that, in exchange for and in complete

satisfaction of the Indemnification Obligations, the D&Os would be included in the protections of

the release and injunction provision. To ensure these revisions would be both fair and equitable

and preserve all coverage under the D&O Policies, this treatment was subject to the following

conditions and limitations:

                   a. Any Insurance Causes of Action may be pursued solely to recover any
                      proceeds under any applicable insurance policies (including any D&O
                      Liability Insurance Polices);

                   b. No Released Party or Exculpated Party shall have any liability to any Entity
                      for any Insurance Causes of Action other than the proceeds of any such
                      insurance policies;

                   c. The treatment afforded any D&O under this First Amended Combined
                      Disclosure Statement and Plan shall not impair the D&O’s duty to defend;

                   d. The treatment afforded any D&O under this First Amended Combined
                      Disclosure Statement and Plan shall not constitute a settlement, stipulation to
                      judgment, incurrence of Defense Costs, admit any liability or assume any
                      contractual obligation, without the D&O Insurance Carrier’s prior written
                      consent;

                   e. The treatment afforded any D&O under this First Amended Combined
                      Disclosure Statement and Plan shall not do anything that could prejudice the
                      D&O Insurance Carrier’s position or its potential or actual rights of recovery;
                      and

                   f. The treatment afforded any D&O under this First Amended Combined
                      Disclosure Statement and Plan shall not do anything deter or impair a D&O’s
                      agreement to provide a D&O Insurance Carrier with all information, assistance
                      and cooperation with the D&O Insurance Carrier may reasonably require.


12
  The Movants reserve the right to supplement this Objection to assert additional grounds for objection to confirmation
of the Plan that are based upon the Solicitation and Tabulation Procedures.

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         42.       Rather than adopt these revisions, the Plan explicitly removes the D&Os from the

parties being released and separately preserved every possible claim by the Released Parties

against the D&Os.

         43.       While the Plan appears to limit the definition of the parties giving the release, this

limitation is illusory because the Plan includes an injunction that is far broader than the releases.

         44.       Specifically, the parties providing the releases include “each other Holder[13] of a

Claim[14] that is entitled to vote on the First Amended Combined Disclosure Statement and Plan

that does not both (1) vote to reject the First Amended Combined Disclosure Statement and Plan

or abstain from voting to accept or reject the First Amended Combined Disclosure Statement and

Plan and (2) elect the Release Opt-Out[15] on its Ballot.” Plan art. I(124).

         45.       The Plan Proponents may contend that Movants can “opt out” of being Releasing

Parties by voting to reject the Plan and electing the Release Opt-Out on their ballots. But the

proposed ballot reveals that the Release Opt-Out applies only to the release, and Movants will

therefore still be subject to the broad injunction: “Opt Out of the Releases in Article XII of the

First Amended Combined Disclosure Statement and Plan. IF YOU CHECK THE BOX, YOU

WILL BE DEEMED TO OPT OUT OF THE RELEASES IN ARTICLE XII OF FIRST

AMENDED COMBINED DISCLOSURE STATEMENT AND THE PLAN.” [ECF 567-8].16




13
   “‘Holder” means any Entity holding a Claim against or an Interest in one or more of the Debtors.”
14
   “‘Claim” means a ‘claim’ (as that term is defined in section 101(5) of the Bankruptcy Code) against one or more
of the Debtors.”
15
   “‘Release Opt-Out’ means the election, to be made solely through validly-submitted Ballots, to opt-out of the release
provisions.”
16
   Article V(H) of the Plan contains conflicting language: “Holders of Claims or Interests that wish to opt out of the
release, injunction, and related provisions contained in Article XII may do so by selecting the opt-out option on the
Ballot.” (emphasis added).

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        46.      Counsel for the Committee confirmed this limitation during the August 29, 2023

hearing on confirmation procedures when he stated that “people can vote to accept, they can vote

to reject, they can opt out of the releases in the plan.”

        47.      Thus, contrary to the Committee’s assurance that there is “no death trap built into

the plan,” Movants will be bound by the broad injunction provision of the Plan, rendering the opt-

out pointless.

        48.      The injunction is so broad that, in addition to suit, counterclaims, crossclaims,

third-party claims, setoff rights, etc., its overbreadth could preclude Movants from raising

affirmative defenses against the Released Parties. One example is Movants’ affirmative defense of

their reliance on the advice of professionals in the course of their actions as officers and directors.

The Plan would prohibit that defense because the “Released Parties” include the FNHC Debtors’

“agents, financial and other advisors, attorneys, accountants, investment bankers, consultants,

representatives and other Representatives.” Plan art. I (123).

        49.      The Eleventh Circuit is clear that a plan’s release of non-debtors “ought not to be

issued lightly, and should be reserved for those unusual cases in which such an order is necessary

for the success of the reorganization, and only in situations in which such an order is fair and

equitable under all the facts and circumstances.” In re Seaside Eng’g & Surveying, Inc., 780 F.3d

1070, 1078–79 (11th Cir. 2015) (“bar orders should be used cautiously and infrequently, and only

where essential, fair, and equitable”) (omitting quotations and citations).

        50.      Courts are to examine the following non-exclusive list of factors:

        (1) There is an identity of interests between the debtor and the third party, usually
        an indemnity relationship, such that a suit against the non-debtor is, in essence, a
        suit against the debtor or will deplete the assets of the estate; (2) The non-debtor
        has contributed substantial assets to the reorganization; (3) The injunction is
        essential to reorganization, namely, the reorganization hinges on the debtor being
        free from indirect suits against parties who would have indemnity or contribution


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       claims against the debtor; (4) The impacted class, or classes, has overwhelmingly
       voted to accept the plan; (5) The plan provides a mechanism to pay for all, or
       substantially all, of the class or classes affected by the injunction; (6) The plan
       provides an opportunity for those claimants who choose not to settle to recover in
       full and; (7) The bankruptcy court made a record of specific factual findings that
       support its conclusions.

Id. at 1079. In re Stein Mart, 629 B.R. 516, 525 (Bankr. M.D. Fla. 2021), relied upon In re Seaside,

supra, and held that “bankruptcy courts should have discretion to determine which… factors will

be relevant in each case. The factors should be considered a nonexclusive list of considerations,

and should be applied flexibly, always keeping in mind that such bar orders should be used

‘cautiously and infrequently,’ and only where essential, fair, and equitable.” (punctuation omitted).

       51.      First, the factual circumstances of these bankruptcies are not the type of “unusual

case” in which non-debtor releases are approved. A common example of an “unusual case” is when

“debtors engaged in extensive, nation-wide product liability litigation.” In re Transit Grp., Inc.,

286 B.R. 811, 817 (Bankr. M.D. Fla. 2002) (discussing “unusual case” examples). In contrast, the

FNHC Debtors cite the catastrophic losses in the Florida property insurance industry and the

receivership of FNIC, requiring the cancellation of policies, as the causes precipitating their

bankruptcy filings. Plan art. II (2). However, the “unusual case” example highlights how D&Os

would be the type of non-debtors to qualify under the Eleventh Circuit’s test of having an identity

of interests with the FNHC Debtors via indemnity: in the mass tort litigation example, “courts have

allowed non-debtor releases against the debtor’s insurers, shareholders, and directors.” In re

Transit Grp., Inc., 286 B.R. at 817.

       52.      Second, there is no way for the Plan Proponents to demonstrate the release and

injunctions provisions are necessary to the FNHC Debtors’ reorganization because the Plan is a

liquidating plan. As Judge Grossman explained, in “non-reorganization cases,” “the real question

is whether the proposed bar order is essential to permitting this debtor to move forward with this


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liquidating Chapter 11 case.” See In re Daymark Realty Advisors, Inc. et al., Case 18-23750-SMG,

ECF 655 at Page 1917:4–13 (S.D. Fla Dec. 30, 2020) (explaining “the rationale for entering a bar

order is much more compelling in the context of a Chapter 11 reorganization as part of a plan than

it is in connection with a pre-confirmation or post-confirmation settlement, or in a Chapter 7

liquidation case.”). Here, there is no ongoing business of the FNHC Debtors that the releases and

injunction will aid, and there has been no showing they will aid the liquidation because the FNHC

Debtors are giving the releases and injunction for nothing in return.

       53.      In contrast, the inclusion of the D&Os in these protections (as Movants proposed)

offers the FNHC Debtors’ creditors increased distributions by waiving the Indemnification

Obligations and channeling claims against the D&Os to the proceeds of the D&O Policies without

impairing any Insurers’ rights under the D&O Policies.

       54.      Third, this Court must determine whether the release and injunction provisions are

“fair and equitable to the parties whose claims will be enjoined.” In re GunnAllen Fin., Inc., 443

B.R. 908, 915 (Bankr. M.D. Fla. 2011) (reviewing bar order in the context of a settlement

agreement).

       55.      As explained above, the Plan would enjoin Movants from defending themselves

and bringing appropriate counter-, cross-, and third-party claims, and Movants have no ability to

opt out of that treatment. In exchange, Movants would not be beneficiaries of the same injunction

and release, but instead all claims against them are explicitly preserved. Movants would

undoubtedly fare better in a Chapter 7 liquidation where they would at least retain their ability to

defend themselves, and the Plan Proponents concede the outcome of the Plan would be

“substantially similar” under a Chapter 7 liquidation. Plan art. III(C), Exhibit C (Liquidation




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Analysis). See In re Daymark Realty Advisors, Inc. et al., ECF 655 at Page 1924:5–22 (“. . . the

support of creditors, particularly creditors impacted by the bar order, is critical.”).

       56.      Further, the Plan Proponents have made no attempt to show how the non-debtor

release and injunction is necessary, fair, and equitable. Unlike the D&Os, the non-debtors

benefitting from the release and injunction have no nexus with the FNHC Debtors; and, contrary

to the concessions proposed by the Movants resulting in higher distributions under the Plan, the

non-debtors benefitting from the release and injunction have not contributed any cash for

distribution in consideration for the protections they receive. Any order approving the release and

injunction proposed by the Plan could therefore not be supported by factual findings.

       57.      Because the release and injunction provisions are patently unnecessary, unfair, and

inequitable, the Plan cannot be confirmed.

       B.      The Plan’s release and injunction provisions are not fair and equitable because
               they do not treat all D&Os the same.

       58.      Under the Plan, the “Hale Related Parties”—who were D&Os and covered under

the D&O Policies—are included in the parties being released. Plan art. I(85) & (123). Thus, the

Plan treats parties with the same status—D&Os—differently, which is not fair or equitable,

particularly given the Hale Related Parties’ alleged role in the collapse of FNHC. (See Monarch

National Ins. Co. et al v. FedNat Holding Co. et al, No. 0:23-01053-PDR (Bankr. S.D. Fla.), Doc.

19 at 27 (Third-Party Complaint, ¶¶18-19).) See In re Hibbard Brown & Co., Inc., 217 B.R. 41,

47 (Bankr. S.D.N.Y. 1998) (explaining that release provisions impacting class action members

differently must be rationally based on legitimate considerations).

       59.      Additionally, as detailed in the preceding section, Movants would be enjoined from

bringing any claims against the Hale Related Parties without receiving any protections in

exchange.


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       C.      The Plan’s release and injunction provisions are not fair and equitable because
               they could impair coverage under the D&O Policies.

       60.      The D&O Policies obligate the FNHC Debtors, FNIC, and the D&Os to defend

claims, cooperate with the D&O Insurance Carriers, not do anything to prejudice the D&O

Insurance Carriers, and not agree to any settlement made without their D&O Insurance Carriers’

prior written consent. In turn, the D&O Insurance Carriers have the right to investigate, defend,

and settle any claims, and are not liable for any settlements made absent their prior written consent.

       61.      The D&O Policies further obligate the FNHC Debtors, FNIC, and the D&Os to

take all actions to preserve the D&O Insurance Carriers’ subrogation rights. Further, the FNHC

Debtors and FNIC agree to fulfill their indemnification obligations to the D&Os in any action by

the D&O Insurance Carriers against the FNHC Debtors or FNIC for subrogation.

       62.      During the August 29, 2023 hearing on confirmation procedures, counsel for the

Committee stated, without explanation, that the D&Os were excluded from being beneficiaries of

the release and injunction provisions because “it could adversely impact insurance coverage.”

       63.      Quite the opposite is true. If anything, adding the D&Os as beneficiaries would

prohibit the creation of “claims” against the D&O Policies. And the release and injunction

provisions could be construed by the D&O Insurance Carriers to violate the D&O Policies’ duties

to cooperate and not prejudice the D&O Insurance Carriers’ position because they bind the FNHC

Debtors and the D&Os to not sue third parties when the D&O Insurance Carriers have not

consented to any such settlement. Further, the release and injunction provision release and enjoin

parties who could be subject to the D&O Insurance Carriers’ subrogation rights. Finally, the FNHC

Debtors have abdicated their indemnification obligations.




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        64.       Movants carefully crafted revisions to the Plan to address all of these issues, but

the Plan Proponents did not include them in the Plan. It is therefore incumbent upon Movants to

object to the Plan as its provisions potentially imperil coverage under the D&O Policies.

        D.       The Court lacks jurisdiction to approve the Plan’s nonconsensual non-debtor
                 release and injunction provisions.

        65.       As set forth above, the current law of the Eleventh Circuit allows nonconsensual

non-debtor releases and injunctions under very limited circumstances not present in the release and

injunction proposed by the Plan.17

        66.       As this Court is undoubtedly aware, a bankruptcy court’s ability to approve this

type of release and injunction is up for review by the United States Supreme Court in Harrington

v. Purdue Pharma L.P., No. 23-124 (23A87), 2023 WL 5116031 (Aug. 10, 2023). The Supreme

Court has stayed the bankruptcy proceedings (in which nonconsensual non-debtor releases were

approved as part of the confirmed plan), and requested briefing on the following issue, which will

be heard during the December 2023 oral argument session: “Whether the Bankruptcy Code

authorizes a court to approve, as part of a plan of reorganization under Chapter 11 of the

Bankruptcy Code, a release that extinguishes claims held by nondebtors against nondebtor third

parties, without the claimants’ consent.” Id.

        67.       Given the Court’s authority to approve the release and injunction requested by the

Plan could soon be invalidated by the Supreme Court, Movants protectively contend that this Court

lacks authority to confirm the Plan.

        68.       The Court lacks subject matter jurisdiction to approve the nonconsensual release

and injunction provisions because the non-debtors who benefit have no nexus to the FNHC



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  But that could, however, be present if Movants were beneficiaries of the release and injunction provisions given
their identity of interests with the FNHC Debtors via indemnity.

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Debtors, and, therefore, these provisions have no conceivable effect on the estate. See 11 U.S.C. §

1334(b) (the district courts shall have original but not exclusive jurisdiction of all civil proceedings

arising under title 11, or arising in or related to cases under title 11”); Matter of Lemco Gypsum,

Inc., 910 F.2d 784, 788 (11th Cir. 1990) (“An action is related to bankruptcy if the outcome could

alter the debtor’s rights, liabilities, options, or freedom of action (either positively or negatively)

and which in any way impacts upon the handling and administration of the bankrupt estate.”).

       69.      Again, only the D&Os being beneficiaries of the release and injunction presents

the type of “effect on the estate” creating subject matter jurisdiction because of the FNHC Debtors’

Indemnification Obligations to the D&Os. See In Re Purdue Pharma L.P., 69 F.4th 45, 88, n.6 (2d

Cir. 2023) (Wesley, J., concurring) (explaining the “possibility” of a non-debtor’s successful

claims for indemnification and contribution claims against the debtor “was enough to confer

jurisdiction on the bankruptcy court” to enjoin third parties’ claims against the non-debtor).

       70.      Further, the Court lacks statutory authority to approve the release and injunction

provisions.

       71.      To be confirmed, a plan must comply with all provisions of the Bankruptcy Code,

11 U.S.C. § 1129(a)(1), and cannot include provisions “inconsistent” with the Bankruptcy Code,

11 U.S.C. § 1123(b)(6).

       72.      “[D]ischarge of a debt of the debtor does not affect the liability of any other entity

on, or the property of any other entity for, such debt.” 11 U.S.C. § 524(e). Section 524(e) therefore

expressly excludes non-debtors from the type of discharge the Plan contemplates.

       73.      Section 105(a)’s allowance of “any order, process, or judgment that is necessary

or appropriate to carry out the provisions of this title,” does not displace the specific provisions of

section 524(e). In re Lowenschuss, 67 F.3d 1394, 1402 (9th Cir. 1995); In re W. Real Est. Fund,



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Inc., 922 F.2d 592, 602 (10th Cir. 1990), modified sub nom. Abel v. West, 932 F.2d 898 (10th Cir.

1991).

         74.     As the Supreme Court has explained, Bankruptcy Code sections 105, 1123, and

1129 “are consistent with the traditional understanding that bankruptcy courts, as courts of equity,

have broad authority to modify creditor-debtor relationships.” United States v. Energy Res. Co.,

495 U.S. 545, 549 (1990) (emphasis added) (determining bankruptcy court’s authority to order the

IRS to designate and apply the debtor’s tax payments made under a plan of reorganization in a

certain manner). The concurring opinion in the Second Circuit’s Purdue Pharma decision

explained that “any congressional grant of equitable authority to the bankruptcy court” should be

understood with the purpose of adjusting the creditor-debtor relationship in mind, and thus,

[r]eleasing nondebtors from their own liability—provided for under state law—over the objection

of a claimholder and without compensating that claimholder is so far afield from that purpose.” 69

F.4th at 89–90 (Wesley, J., concurring).

         75.     Thus, because the Court lacks authority to approve the release and injunction

provision, the Plan cannot be confirmed.

                                         CONCLUSION

         Unless and until Movants are included within the protections of the release and injunction

provisions of the Plan, the Plan is not confirmable as unfair and inequitable. Therefore, Movants

respectfully request that the Court sustain this objection and deny confirmation of the Plan [ECF

567, 567-1–567-8, 661].




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Dated: Tampa, Florida
       September 27, 2023
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                                               By:      /s/ Jeffrey W. Warren
                                                        Jeffrey W. Warren, Esq.
                                                        Florida Bar No. 150024
                                                        jwarren@bushross.com


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 27, 2023, I electronically filed the foregoing

with the Clerk of Court using CM/ECF. I also certify that the forgoing document is being served

this day on all parties registered to receive notifications in this case via transmission of Notice of

Electronic Filing generated by CM/ECF. Finally, in accordance with the Amended Order (I)

Approving the Filing of a Combined Disclosure Statement and Chapter 11 Plan of Liquidation;

(II) Approving on Interim Basis the First Amended Combined Disclosure Statement and Chapter

11 Plan of Liquidation of FedNat Holding Company and its Debtor Affiliates as Containing

Adequate Information for Solicitation Purposes, (III) Scheduling the Combined Hearing and

Deadline for Filing Objections; (IV) Establishing Procedures for Solicitation and Tabulation of

Votes to Accept or Reject the First Amended Combined Disclosure Statement and Plan, and

Approving the Form of Ballots and Solicitation Package; (V) Establishing Voting Record Date;

and (VI) Approving the Notice Provisions [ECF 630], I certify the foregoing document is being

served on (i) the Debtors’ counsel, Nelson Mullins Riley & Scarborough LLP, Shane G. Ramsey,

1222     Demonbreun        Street,    Suite     1700,      Nashville,     TN      37203,     E-Mail:

shane.ramsey@nelsonmullins.com; (ii) the Office of the United States Trustee for the Southern


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District of Florida, (a) 51 SW First Avenue, Room 1204, Miami, FL 33130; and (b) J. Steven

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